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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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    SARAH CHANG,
                                                                       25 Civ. 4917 (PAE)
                                         Plaintiff,
                                                                       NOTICE OF INITIAL
                         -v-                                           PRETRIAL
                                                                       CONFERENCE
    MICHAEL CHANG,

                                          Defendant.
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PAUL A. ENGELMAYER, District Judge:

        An initial pretrial conference is hereby scheduled for July 14, 2025 at 2 p.m. This

conference will be held telephonically. The parties should call into the Court's dedicated

conference line at (855) 244-8681, and enter Access Code 2318-315-0661, followed by the pound

(#) key. Counsel are directed to review the Court's Emergency Individual Rules and

Practices in Light of COVID-19, found at https://www.nysd.uscourts.gov/hon-paul-engelmayer,

for the Court's procedures for telephonic conferences and for instructions for communicating

with chambers. By the date of the initial pretrial conference, counsel for all parties are required to

register as filing users in accordance with the Procedures for Electronic Case Filing.

        Counsel2 for the removing defendant(s) are directed to serve a copy of this Order on each

other party within 14 days following the date of this order; a copy of this Order must also be

served with any subsequent process that brings in additional parties, and proof of such service

must be filed promptly with the Court. If the removing defendant's counsel is unaware of the




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 As used in this Order, the term "counsel" means, in the case of an individual party who is
proceeding prose, such party.
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identity of counsel for any of the other parties, he or she must forthwith send a copy of this Order

to that party personally.

        Counsel for the removing defendant( s) are further directed to serve on all other parties and

submit to the Court within 14 days following the date of this order a letter, filed on ECF,

providing the following information:

        1.     Whether all defendants who had been served at the time of removal joined in the
               notice of removal.

       2.       Whether the notice of removal was dated more than 30 days after the first
                defendant was served.

        3.      If the action has been removed on the grounds of diversity jurisdiction, the
                citizenship of all named plaintiffs and all named defendants (including the
                citizenship of all members or partners in any non-corporate entity), if such states
                of citizenship were not set forth in the notice of removal.

       If any plaintiff has a response to defendant's submission, that response must be submitted

to the Court within 14 days of service of defendant's submission. Any motion to remand the

action to state court based on procedural defects in the removal must be filed within 30 days of

removal. See 28 U.S.C. § 1447(c).

        Counsel are further directed to prepare a Civil Case Management Plan and Scheduling

Order in accordance with the Court's Individual Rules, to be submitted to the Court no later than

3 business days before the initial pretrial conference.

       Counsel are further directed to submit to the Court, no later than four business days before

the date of the initial conference, a joint letter, not to exceed three single-spaced pages in length,

addressing the following topics in separate paragraphs: (1) a brief description of the case,

including the factual and legal bases for the claim(s) and defense(s); (2) any contemplated

motions; and (3) the prospect for settlement. For the Court's convenience, the parties are

requested to set forth the date and time of the conference in the opening paragraph of the letter.


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       If this case has been settled or otherwise terminated, counsel are not required to appear,

provided that a stipulation of discontinuance, voluntary dismissal, or other proof of termination is

sent prior to the date of the conference via e-mail to the Orders and Judgment Clerk at the

following e-mail address: orders_andjudgments@nysd.uscourts.gov.

       All conferences with the Court are scheduled for a specific time; there is no other matter

scheduled for that time; and counsel are directed to appear promptly. All pretrial conferences

must be attended by the attorney who will serve as principal trial counsel. Requests for

adjournment may be made only in a writing received no later than 2 business days before the

conference. The written submission must comply with Section 1.E of the Comi's Individual

Rules. Unless counsel are notified that the conference has been adjourned, it will be held as

scheduled.


       SO ORDERED.



                                                     Paul A. Engelmayer
                                                     United States District Judge


Dated: June 12, 2025
       New York, New York




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